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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

Hammond Development International, Inc.,   §
                                           §
       Plaintiff,                          §
                                           §
                                                Civil Action No. 1:20-CV-00342-ADA
v.                                         §
                                           §
Amazon.com, Inc.,                          §
                                                       Jury Trial Demanded
Amazon.com LLC,                            §
Amazon.com Services, Inc., and             §
Amazon Web Services, Inc.,                 §
                                           §
       Defendants.                         §




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

Hammond Development International, Inc.,   §
                                           §
       Plaintiff,                          §
                                                 Civil Action No. 6:19-CV-00356-ADA
                                           §
                                               (consolidated with 6:19-CV-00355-ADA)
v.                                         §
                                           §
Google LLC,                                §
                                                       Jury Trial Demanded
                                           §
       Defendant.                          §
                                           §




               JOINT MOTION TO STAY PENDING INTER PARTES REVIEW




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       I.       INTRODUCTION

       Plaintiff Hammond Development International, Inc. (“HDI”), Defendants Amazon.com,

Inc., Amazon.com, LLC, Amazon.com Services, Inc., and Amazon Web Services, Inc.

(collectively, “Amazon”), and Defendant Google LLC (“Google”) respectfully file this Joint

Motion to Stay Pending Inter Partes Review (“IPR”) of the Patents-in-Suit.

       II.      FACTUAL AND PROCEDURAL HISTORY

       The Court consolidated for pre-trial purposes HDI’s actions against Amazon and Google

on October 11, 2019. See Dkt. No. 38. On March 30, 2020, the Amazon case was transferred to

the Western District of Texas, Austin Division, and placed under a new cause number. See Dkt.

No. 65. Google’s separate Motion to Transfer is currently pending. See Dkt. No. 42. HDI has filed

a notice of non-opposition to Google’s request to transfer to the Austin Division. See Civ. No.

6:19-CV-00356, Dkt. No. 36 (April 8, 2020). For the avoidance of doubt, this Joint Motion to Stay

applies to both the Amazon and Google cases, and all references to “this action” or “this case”

refer to both cases.

       The Patents-in-Suit in this case are United States Patent Nos. 9,264,483 (the “’483 Patent”),

9,420,011 (the “’011 Patent”), 9,456,040 (the “’040 Patent”), 9,705,937 (the “’937 Patent”),

9,716,732 (the “’732 Patent”), 10,193,935 (the “’935 Patent”), 10,264,032 (the “’032 Patent”), and

10,270,816 (the “’816 Patent”) (collectively, the “HDI Patents”). On January 17, 2020, pursuant

to the Scheduling Order entered in this case (Dkt. No. 48), HDI made its Preliminary Election of

Claims, asserting the following claims against both Amazon and Google (“Asserted Claims”):

       U.S. Patent No. 9,264,483:

                Claims 10, 12, 14, 15, 16, 17, 18, 22, 24, and 25

       U.S. Patent No. 9,420,011:

                Claims 11, 16, 17, and 23


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       U.S. Patent No. 9,456,040:

               Claims 3, 12, and 13

       U.S. Patent No. 9,705,937:

               Claims 3, 10, and 17

       U.S. Patent No. 9,716,732:

               Claims 4, and 5

       U.S. Patent No. 10,193,935:

               Claims 4, 8, and 10

       U.S. Patent No. 10,264,032:

               Claims 1, 2, 3, 5, 6, 7, 8, 9, 10, 11, 12, 14, 15, 16, 20, 22, and 23

       U.S. Patent No. 10,270,816:

               Claims 1, 6, 7, 8, 9, 10, 11, 12, 14, 15, 18, 19, 20, 24, 25, 27, 28, and 29

       Between October 11, 2019 and June 9, 2020, Google and Amazon collectively filed twenty

IPRs against the HDI Patents, each challenging, inter alia, each of the Asserted Claims. Both

Amazon’s and Google’s deadlines to file IPRs against the HDI Patents have passed; thus, no

additional IPRs will be filed. To date, the PTAB has instituted review in three of the pending IPRs.

A summary of the pending IPRs (hereinafter, “HDI IPRs”) and the status of each follows:

 Case No.            Petitioner      Patent            Status
 IPR2020-00020       Google          ’483 Patent       Instituted – FWD expected by April 20, 2021
 IPR2020-00080       Google          ’032 Patent       Instituted – FWD expected by April 30, 2021
 IPR2020-00081       Google          ’816 Patent       Instituted – FWD expected by June 8, 2021
 IPR2020-00214       Google          ’732 Patent       POPR Filed – Institution decision expected by
                                                       June 20, 2020
 IPR2020-00298       Google          ’040 Patent       POPR Filed – Institution decision expected by
                                                       July 8, 2020
 IPR2020-00305       Google          ’732 Patent       POPR Filed – Institution decision expected by
                                                       July 8, 2020
 IPR2020-00306       Google          ’935 Patent       POPR Filed – Institution decision expected by
                                                       July 8, 2020



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    Case No.          Petitioner   Patent            Status
    IPR2020-00411     Google       ’011 Patent       POPR Waived – Institution decision expected
                                                     by August 6, 2020
    IPR2020-00412     Google       ’040 Patent       POPR Waived – Institution decision expected
                                                     by August 6, 2020
    IPR2020-00413     Google       ’935 Patent       POPR Waived – Institution decision expected
                                                     by August 6, 2020
    IPR2020-00414     Google       ’937 Patent       POPR Waived – Institution decision expected
                                                     by September 3, 2020
    IPR2020-00415     Google       ’937 Patent       POPR Waived – Institution decision expected
                                                     by September 3, 2020
    IPR2020-00460     Amazon       ’483 Patent       POPR Waived – Institution decision expected
                                                     by August 6, 2020
    IPR2020-01029     Amazon       ’032 Patent       Petition filed June 2, 2020
    IPR2020-01043     Amazon       ’732 Patent       Petition filed June 3, 2020
    IPR2020-01051     Amazon       ’040 Patent       POPR Due by September 9, 2020 – Institution
                                                     decision expected by December 9, 2020
    IPR2020-01058     Amazon       ’011 Patent       POPR Due by September 9, 2020 – Institution
                                                     decision expected by December 9, 2020
    IPR2020-01064     Amazon       ’935 Patent       POPR Due by September 17, 2020 –
                                                     Institution decision expected by December
                                                     17, 2020
    IPR2020-01066     Amazon       ’937 Patent       POPR Due by September 17, 2020 –
                                                     Institution decision expected by December
                                                     17, 2020
    IPR2020-01067     Amazon       ’816 Patent       Petition filed June 9, 2020


         Based on the IPR schedules set forth in Title 35 of the United States Code (and assuming

for purposes of this Motion that the PTAB will institute review in all twenty cases), Final Written

Decisions (“FWDs”) in the HDI IPRs are expected to issue between April and December, 2021 .1

         This Court held its Markman hearing on May 15, 2020. The Parties have been negotiating

a post-Markman schedule but have not yet reached agreement or submitted a proposal to the Court.

Thus, discovery in this case has not yet begun and no trial date has been set.




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  The deadlines for HDI to file or waive its POPRs are based on the dates of the PTAB’s Notice
of Filing Date Accorded for each Petition. 37 C.F.R. § 42.107(b). The PTAB has not yet issued its
Notices in some cases listed in the chart, so HDI’s deadlines (which set the deadlines for the PTAB
to issue its institution decisions and, consequently the deadlines for the FWDs) are not yet known.

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        III.     LEGAL STANDARDS

        A district court has the inherent power to control its own docket, including the power to

stay proceedings before it. See Clinton v. Jones, 520 U.S. 681, 706 (1997) (“The District Court has

broad discretion to stay proceedings as an incident to its power to control its own docket.”). In

particular, the question whether to stay proceedings pending inter partes review (“IPR”) of a patent

is a matter committed to the district court’s discretion. Ethicon, Inc. v. Quigg, 849 F.2d 1422,

1426–27 (Fed. Cir. 1988).

        IV.      RELIEF REQUESTED

        In light of the particular circumstances of this case, the Parties jointly request a stay of this

action pending resolution of the HDI IPRs. Specifically, if the Court grants the requested stay in

this case, the Parties stipulate as follows:

        1.       The case shall be stayed at least until the PTAB’s issuance of the last FWD in the
                 HDI IPRs;

        2.       Upon issuance of the last FWD in the HDI IPRs, HDI shall provide a copy of all
                 FWDs in the HDI IPRs to the Court.

        3.       If all Asserted Claims are found to be unpatentable in FWDs in the HDI IPRs, then
                 the stay of this case shall be automatically extended pending HDI’s appeal(s), if
                 any, of the FWDs in the HDI IPRs;

        4.       If any Asserted Claim is found to not be unpatentable in a FWD, then HDI may,
                 following the PTAB’s issuance of the last FWD in the HDI IPRs, move the Court
                 to lift the stay with respect to any such Asserted Claim, and Amazon and/or Google
                 may oppose any such motion; and

        5.       HDI shall not assert against Amazon, Google, and/or any Amazon or Google
                 products or services any patent claim in the Patents-in-Suit not listed in the Asserted
                 Claims above in Section II.

        Accordingly, the Parties respectfully request that the Court issue an Order staying this case

and entering the requirements specified above. A Proposed Order consistent with this request is

attached.




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        Finally, because the Parties and the Court have expended substantial time and resources on

claim construction, and because “[a]ny prior claim construction determination concerning a term

of the claim in a civil action . . . that is timely made of record in the inter partes review proceeding

will be considered” in an IPR, 37 C.F.R. § 42.100(b), the Parties respectfully request that the Court

enter its full Claim Construction Order when it is complete so that it may be submitted as part of

the record in the HDI IPRs.



Dated: June 22, 2020                                    Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        Pursuant to Local Rule 5(b)(1), I hereby certify that the foregoing document was

electronically filed with the Clerk of Court using the CM/ECF filing system, which will generate

and send an e-mail notification of said filing to all counsel of record, on this the 22nd day of June,

2020.



                                                      /s/ Andrew J. Wright
                                                      ANDREW J. WRIGHT




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